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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X
NATIONAL COALITION ON BLACK CIVIC :
PARTICIPATION, et al.              :
                                   :
                    Plaintiffs,    :    20 Civ. 8668 (VM)
                                   :
     - against -                   :    DECISION AND ORDER
                                   :
JACOB WOHL, et al.                 :
                                   :
                    Defendants.    :
-----------------------------------X
VICTOR MARRERO, United States District Judge.


      Plaintiffs       National    Coalition     on      Black     Civic

Participation (“NCBCP”), Mary Winter, Gene Steinberg, Nancy

Hart, Sarah Wolff, Karen Slaven, Kate Kennedy, Eda Daniel,

and Andrea Sferes (collectively, “Plaintiffs”) filed this

action against defendants Jacob Wohl (“Wohl”), Jack Burkman

(“Burkman”), J.M. Burkman & Associates, LLC (“J.M. Burkman &

Associates”), Project 1599, and John and Jane Does 1 through

10   (collectively,     “Defendants”).      Plaintiffs    allege    that

Defendants     sent    robocalls    containing   false       information

intended to scare recipients from voting by mail in violation

of   Section   11(b)    of   the   Voting   Rights    Act,    52   U.S.C.

§ 10307(b), and Section 2 of the Ku Klux Klan Act, 42 U.S.C.

§ 1985(3). Plaintiffs seek a temporary restraining order and

preliminary injunction prohibiting Defendants, their agents,

employees, and all persons acting in concert with them from

sending such robocalls (the “Motion”). (See “Proposed Order,”


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Dkt. No. 12; “Plaintiffs’ Memorandum,” Dkt. No. 13; “Ramsey

Decl.,” Dkt. No. 14; “Winter Decl.,” Dkt. No. 15; “Steinberg

Decl.,” Dkt. No. 16; “Hart Decl.,” Dkt. No. 17; “Wolff Decl.,”

Dkt. No. 18; “Slaven Decl.,” Dkt. No. 19; “Kennedy Decl.,”

Dkt. No. 20; “Daniel Decl.,” Dkt. No. 21; “Sferes Decl.,”

Dkt.     No.   22.)   Defendants       oppose   the     Motion.     (See

“Opposition,” Dkt. No. 36.) For the reasons that follow, the

Court GRANTS Plaintiffs’ Motion for a temporary restraining

order.

                           Introduction

       The right to vote embodies the very essence of democracy.

Absent free and fair elections uninfluenced by fear, the

underpinnings of democratic rule would crumble. The United

States Constitution, as enforced by Congress and the courts,

enshrines these principles.

       In 1871, Congress, in a measure designed to safeguard

the right to vote constitutionally guaranteed to all eligible

United    States   citizens,   enacted    the   Ku    Klux   Klan   Act.

Historically, that statute derived from the harm experienced

by newly emancipated and enfranchised former slaves. Seeking

to cast their votes in federal and state elections, they

encountered, at home and at the polls, blatant intimidation

carried out by open threats, economic coercion, and even




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physical violence inflicted to prevent their participation in

the nation’s electoral process.

     Today, almost 150 years later, the forces and conflicts

that animated Congress’s adoption of the Ku Klux Klan Act as

well as subsequent voting rights legislation, are playing out

again before this Court, though with a difference. In the

current   version   of   events,   the   means   Defendants   use   to

intimidate voters, though born of fear and similarly powered

by hate, are not guns, torches, burning crosses, and other

dire methods perpetrated under the cover of white hoods.

Rather,   Defendants     carry     out   electoral   terror      using

telephones, computers, and modern technology adapted to serve

the same deleterious ends. Because of the vastly greater

population they can reach instantly with false and dreadful

information, contemporary means of voter intimidation may be

more detrimental to free elections than the approaches taken

for that purpose in past eras, and hence call for swift and

effective judicial relief.

     Many Plaintiffs in this case assert that they were

recipients of robocalls initiated by Defendants conveying

messages that placed recipients in reasonable fear of casting

their votes in the impending presidential election, in person

or by mail. Upon initial factual review, this Court finds

that the information Defendants’ calls convey is manifestly


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false and meant to intimidate citizens from exercising voting

rights.

        Defendants    do   not   contest   that   they   originated    the

robocalls. In fact, by their own admission in other public

statements they reportedly made, they have worked overtly to

influence potential voters through disinformation campaigns.

Instead, as legal ground for their action, Defendants advance

a sinister and pernicious theory. They contend that the

expression their robocalls communicated constitutes speech

protected      by    the   First    Amendment.     Defendants’      theory

implicates a fundamental threat to democracy. This Court thus

rejects it as justification for Defendants’ baneful conduct.

The First Amendment cannot confer on anyone a license to

inflict purposeful harm on democratic society or offer refuge

for wrongdoers seeking to undermine bedrock constitutional

principles. Nor can it serve as a weapon they wield to bring

about our democracy’s self-destruction.

        Accordingly, for the reasons stated below, Plaintiffs’

motion for a temporary restraining order is GRANTED.

                            I.     BACKGROUND1

        Plaintiff NCBCP is a nonprofit, nonpartisan civil rights

and racial justice organization dedicated to increasing civic



1 The factual background herein derives from the Complaint, as well as
from the exhibits filed in connection with Plaintiffs’ Memorandum and the


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engagement     in    Black   and    underserved    communities.      The

additional plaintiffs comprise individual voters registered

in   New   York,    Pennsylvania,    and   Ohio   (collectively,     the

“Individual Plaintiffs”).

      Burkman is a lobbyist and the founder of lobbying firm

J.M. Burkman & Associates. Wohl and Burkman co-founded the

political organization Project 1599.

      Wohl has boasted to journalists of his and Burkman’s

plans to influence politics through disinformation campaigns.

For example, according to a February 26, 2019 article in USA

Today, Wohl, then twenty-one-years old, told reporters that

he and Burkman were planning “ways to discredit Democrats in

the 2020 election with lies and other disinformation, using

his large following on social media to cause disarray similar

to what Russians did during the 2016 election.”2 In addition,

the Daily Beast published a document that Wohl later said was

a draft of his business plan for the “Arlington Center for

Political Intelligence.”3 As reported by the Washington Post,



Court’s October 26, 2020 hearing. Except when specifically quoted or
referenced, no further citation to these sources will be made.
2 Crystal Hayes & Gus Garcia-Roberts, This Is How Jacob Wohl Created a

Sexual Harassment Accusation Against Robert Mueller, USA Today (Feb. 26,
2019),   https://www.usatoday.com/story/news/politics/2019/02/26/robert-
mueller-hoax-how-jacob-wohl-created-sexual-harassment-
plot/2993799002/.
3 Manuel Roig-Franzia & Beth Reinhard, Meet the GOP Operatives Who Aim to

Smear the 2020 Democrats - But Keep Bungling It, Wash. Post (June 4,
2019),      https://www.washingtonpost.com/lifestyle/style/meet-the-gop-
operatives-who-aim-to-smear-the-2020-democrats--but-keep-bungling-
it/2019/06/04/5b70f000-7691-11e9-bd25-c989555e7766_story.html.


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the plan involved “disseminat[ing] false information about

Democratic presidential candidates to swing political betting

markets.”4

        In late August 2020, thousands of voters in the United

States, including voters in Illinois, Ohio, New York, and

Pennsylvania, received robocalls that conveyed the following

message:

        Hi, this is Tamika Taylor from Project 1599, the civil
        rights organization founded by Jack Burkman and Jacob
        Wohl. Mail-in voting sounds great, but did you know that
        if you vote by mail, your personal information will be
        part of a public database that will be used by police
        departments to track down old warrants and be used by
        credit card companies to collect outstanding debts? The
        CDC is even pushing to use records for mail-in voting to
        track people for mandatory vaccines. Don’t be finessed
        into giving your private information to the man, stay
        safe and beware of vote by mail.5

See Complaint ¶ 29; Dkt. No. 33.6

        On October 26, 2020, this Court held a hearing in this

matter     to   discuss   Plaintiffs’     request   for   a   temporary

restraining order (the “October 26 Hearing”). Defendants


4 Id.
5 At the hearing before the Court on October 26, 2020, Wohl argued that
the calls did not include the phrase “stay home,” as indicated in
Plaintiffs’ submissions. (See Plaintiffs’ Memorandum, at 2; Complaint ¶
29.) Plaintiffs subsequently acknowledged the transcription error in
their prior submissions, but argued it “has no bearing on the merits of
the relief requested.” (Dkt. No. 33.)
6 Defendants argue that Plaintiffs’ evidence is largely composed of

hearsay, making it inadmissible and unreliable. But the Second Circuit
has held that “hearsay evidence may be considered by a district court in
determining whether to grant a preliminary injunction.” Mullins v. City
of New York, 626 F.3d 47, 52 (2d Cir. 2010). Rather, whether evidence is
hearsay goes to its weight, not its admissibility. Id. Here, the Court
sees no reason why Plaintiffs’ hearsay evidence is unreliable, and
Defendants have failed to offer one.


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Burkman    and   Wohl    appeared      at    the    hearing    pro       se    and

acknowledged that they were responsible for initiating the

robocalls, including by preparing the message conveyed and

hiring a nonparty California company to electronically place

the   calls.     The    evidence      submitted      in   connection          with

Plaintiffs’ motion further supports this fact. The robocall

message identifies Project 1599 as the source of the calls

and names    Burkman     and   Wohl    as   its    founders.      Recipients’

phones reflected that the robocalls came from “Jack Burkman”

and the number “703-795-5364.” (Hart Decl. ¶ 5; see also

Sferes Decl. ¶ 4; Steinberg Decl. ¶ 4; Wolff Decl. ¶ 4.)

      Plaintiffs estimate that approximately 85,000 robocalls

conveying this message have been placed to date. The calls

targeted areas with large populations of Black voters, such

as Detroit, Michigan, as well as urban areas with significant

minority    populations,       such   as    New    York   City.    Defendants

denied that the calls targeted any racial demographic in

particular, and they even claimed that they do not know how

to target a robocall to particular demographic groups. The

Court finds Defendants’ statements on that point lacking in

credibility      in    light    of    other       admissions      they    made.

Specifically, Burkman explained at the October 26 hearing

that robocalls are issued by randomly selecting phone numbers

within particular area or zip codes. Given the technical


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feasibility    of   targeting   calls     to   particular    geographic

areas,   and   generally   known   information      about    social   and

economic residential patterns in this country,7 it is not

difficult to discern how particular demographic groups can be

targeted through robocalls.

      The robocall message contains various false statements,

including: (1) the claim that police will use vote-by-mail

information to track persons with outstanding warrants; (2)

the assertion that vote-by-mail information will be used by

debt collectors; and (3) the claim that the Centers for

Disease Control and Prevention (“CDC”) is seeking access to

vote-by-mail information to conduct mandatory vaccination

efforts.

     Defendants     characterize       these   claims   as   “opinions.”

However, the use of the phrase “did you know” before each of

these false and misleading assertions supports the conclusion

that they were expressed not as opinion, but as fact. At the

October 26 Hearing, Burkman and Wohl maintained the truth of

these claims, but the Court is unpersuaded. Burkman and Wohl


7 See, e.g., Aaron Williams & Armand Emamdjomeh, America is More Diverse

than Ever But Still Segregated, Wash. Post (last updated May 10, 2018),
https://www.washingtonpost.com/graphics/2018/national/segregation-us-
cities; see also generally Richard Rothstein, The Color of Law: A
Forgotten History of How Our Government Segregated America (2017)
(exploring legal history of housing discrimination and state sponsored
segregation); Tal Z. Zarsky, Understanding Discrimination in the Scored
Society, 89 Wash. L. Rev. 1375, 1394 (2014) (discussing discriminatory
proxies used in algorithms relied upon in numerous industries, including
“zip codes as proxies for race”).


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defended      the   accuracy     of    their     claims   on     the    public

availability of voter information -- but the information in

those     records    is      generated     in    connection      with    voter

registration, not mail-in balloting. In other words, the

publication of information about voters in public records is

a function of voter registration, and unrelated to whether a

voter chooses to vote by mail or in person. The Court finds

that Defendants’ contention that voting by mail increases the

likelihood of dissemination of a voter’s personal information

is baseless.

        Furthermore, Defendants provide no credible evidence,

and the Court finds none in the record of this proceeding, to

support a claim that publicly available voter-registration

lists are used by law enforcement, debt collectors, and the

CDC in the manner the robocall alleges.8 At the October 26

Hearing, the Court gave Wohl and Burkman the opportunity to

provide a factual basis validating these claims. Wohl and

Burkman     supplied    no    such    support,    apart   from    their    own

speculation that the CDC is always pushing to collect any

available data, and that debt collectors scour all public


8 The Court takes judicial notice of the varied procedural requirements
for obtaining voter-registration information across different states, as
well as the diverse types of voter information publicly available, which,
for example, does not always include voters’ addresses. See Nat’l
Conference of State Legislatures, Access To and Use Of Voter Registration
Lists   (Aug.   5,   2019)   https://www.ncsl.org/research/elections-and-
campaigns/access-to-and-use-of-voter-registration-lists.aspx.


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records as a matter of course. Nor have Defendants identified

compelling      evidence    to   corroborate    the   claim    that   law

enforcement will use voter-registration lists to execute

arrest warrants. Hence, the Court finds that these statements

are false and misleading and that as a consequence, in the

minds     of   reasonable   voters,   would    produce   a   substantial

intimidating effect.

        As noted above, the speaker delivering the robocall

message identified herself in the message as “Tamika Taylor.”

That name has been used incorrectly by media outlets to refer

to the mother of Breonna Taylor, Tamika Palmer. Breonna Taylor

was a Black woman shot and killed by police in Louisville,

Kentucky, and her story has been an impetus for and key focus

of racial justice reform movements focused on discriminatory

policing and systemic racism. In the wake of Breonna Taylor’s

death, her mother has become a well-known advocate for civil

rights.9 Use of this name in the script of the call is

suggestive of an effort to provide an aura of legitimacy to

the robocall message.




9 The Court is persuaded that Tamika Palmer’s status as a well-known civil
rights advocate is a matter of general knowledge and, thus, the proper
subject of judicial notice. See generally Brakkton Booker, Breonna
Taylor’s Mother: “I Won’t Go Away. I’ll Still Fight,” NPR (Sept. 18,
2020),     https://www.npr.org/sections/live-updates-protests-for-racial-
justice/2020/09/18/914164312/breonna-taylors-mother-i-won-t-go-away-i-
ll-still-fight.


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     The Individual Plaintiffs report that the robocalls made

them concerned about voting by mail. For example, plaintiff

Gene Steinberg, who has an 18-year-old nonviolent criminal

conviction, described receiving the call as “particularly

traumatic.”    (Steinberg   Decl.     ¶   13.)   The   claim   that   law

enforcement would use mail-in voters’ information to track

persons   with   outstanding    arrest     warrants    made    Steinberg

frightened and anxious given his criminal history. Plaintiff

Andrea Sferes also found the robocall to be distressing and

“emotionally     upsetting.”    (Sferes      Decl.     ¶   9.)    Having

outstanding medical debt, Sferes began to doubt whether her

information would be shared if she voted by mail, and she

“had to try and convince [herself] that [the robocall message]

was not true.” (Id. ¶ 8.)      Plaintiff Nancy Hart, a journalist

whose work focuses on the Black community in and around

Pittsburgh, became “irate” when she received the call because

she recognized it as a deceptive scheme designed to prey upon

fears in the Black community about the police, predatory debt

collectors, and government-mandated medical programs, and

thereby scare Black voters from voting. (Hart Decl. ¶¶ 7-8.)

As a result of the calls, at least two Plaintiffs -- Steinberg

and Winter -- have decided against voting by mail, which they

had originally planned to do because of their fears of




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exposure to COVID-19. Steinberg and Winter no longer view

voting by mail as reliable.

      NCBCP invests significant resources in the Black Women’s

Roundtable (“BWR”), an empowerment program that promotes

Black participation in the Census and elections and engages

in on-the-ground organizing. When the robocalls began in late

August, NCBCP’s BWR program in the Detroit area (“BWR Metro

Detroit”)    learned        that    Detroit     community     members   were

receiving the calls. BWR Metro Detroit became concerned that

the calls would intimidate Black voters from participating in

the upcoming elections and/or scare Black voters who would

have voted by mail into voting in person, thereby increasing

their risk of contracting COVID-19. Accordingly, BWR Metro

Detroit diverted resources allocated toward increasing Census

participation to addressing the disinformation communicated

in the robocall. For example, BWR Metro Detroit’s co-chair

switched from assisting community members with the completion

of   their   Census    forms       to   responding     to   the   robocalls’

disinformation. NCBCP fears that the continued dissemination

of robocalls will force NCBCP to divert additional resources

to   counteract       the    further         spread   of    the   robocalls’

disinformation.

      Burkman and Wohl are facing felony charges arising from

the robocalls. Each is charged in Michigan with one count of


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intimidating voters, one count of conspiracy to commit an

election law violation, one count of using a computer to

commit the crime of intimidating voters, and using a computer

to   commit   the   crime      of   conspiracy.10    One    condition      of

Burkman’s and Wohl’s bail is that they must not “initiate, or

cause    anyone   else    to   initiate,    any     robocalls      or   other

communications directed at multiple recipients until November

4.”11 They are also facing a felony indictment in Ohio, but

have not been arraigned on those charges as of the date of

this Order.12

      At the October 26 Hearing, defendants Burkman and Wohl

raised a number of arguments against issuance of a temporary

restraining order. For example, Defendants asserted that

Plaintiffs lacked standing. In addition, Defendants claimed

that the issuance of a temporary restraining order in this

case would be entirely without precedent, and that the case

should   be   stayed     pending    the   outcome    of    their   criminal

proceedings. Moreover, Defendants argued that the robocalls

constitute    constitutionally        protected      political      speech.


10 See AG Nessel Files Felony Charges Against Jack Burkman, Jacob Wohl in

Voter-Suppression Robocalls Investigation, Dep’t of Att’y Gen. (Oct. 1,
2020), https://www.michigan.gov/ag/0,4534,7-359--541052--,00.html.
11 See CTRM 134 36th District Court, 36thDC134, YouTube (Oct. 8, 2020),

https://www.youtube.com/watch?v=X8KUAWLGbZA (arraignment).
12 See Virginia and California Duo Indicted as Part of Voter Intimidation

Robocall Scam That Targeted Midwestern Minority Communities, Cuyahoga
County     Office     of     the    Prosecutor     (Oct.    27,     2020)
http://prosecutor.cuyahogacounty.us/en-US/duo-indicted-voter-
intimidation-scam-targeted-minority-communities.aspx.


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Finally, Defendants        stated    that   they        had     not   sent   or

authorized     any   further        robocalls      since        the   criminal

proceedings against them in Michigan had begun.

       During the hearing, Defendants represented to the Court

that they had obtained counsel who would enter an appearance

on October 27, 2020. In light of this statement, at the

conclusion of the hearing, the Court granted Defendants until

October 27, 2020 at 3:00 p.m. to enter any written submission

on Defendants behalf. Defense counsel filed the Opposition to

Plaintiffs’ Motion on October 27, 2020 in accordance with

that Order.

       In the Opposition, Defendants argue that Plaintiffs have

not demonstrated standing, a harm not compensable by monetary

damages, or a likelihood of success on the merits. Defendants

also emphasize their First Amendment rights, arguing that

harm to their First Amendment interests counsels against

granting the relief Plaintiffs seek.

                       I.     LEGAL STANDARDS

       “The standards for granting a temporary restraining

order and a preliminary injunction pursuant to Rule 65 . . .

are identical.” Sterling v. Deutsche Bank Nat’l Tr. Co. as

Trs.   for   Femit   Tr.   2006-FF6,      368    F.     Supp.    3d   723,   726

(S.D.N.Y.    2019)   (quoting   Spencer         Trask    Software     &   Info.

Servs., LLC v. RPost Int’l Ltd., 190 F. Supp. 2d 577, 580


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(S.D.N.Y. 2002)). To obtain such relief, the plaintiff must

show “(1) irreparable harm; (2) either a likelihood of success

on the merits or both serious questions on the merits and a

balance of hardships decidedly favoring the moving party; and

(3) that [the requested relief] is in the public interest.”

N. Am. Soccer League, LLC v. U.S. Soccer Fed’n, 883 F.3d 32,

37 (2d Cir. 2018). The showing of irreparable harm “is the

single most important prerequisite . . . .” LSSi Data Corp.

v. Time Warner Cable, Inc., 892 F. Supp. 2d 489, 501 (S.D.N.Y.

2012) (internal        quotation     marks    omitted).        To    demonstrate

irreparable harm, the movant must show “an injury that is

neither remote nor speculative, but actual and imminent.”

Rodriguez      v.   DeBuono,        175     F.3d        227,   234    (2d     Cir.

1999) (internal quotation marks omitted). The movant must

further show that the injury “cannot be remedied by an award

of monetary damages.” Id.

       “When considering a motion for a preliminary injunction,

unlike a motion to dismiss, the Court need not accept as true

the      well-pleaded          allegations               in     Plaintiff[’s]

complaint.” Victorio v. Sammy's Fishbox Realty Co., No. 14

Civ.   8678,    2014    WL   7180220,       at     *4    (S.D.N.Y.     Dec.    12,

2014) (citing Incantalupo v. Lawrence Union Free Sch. Dist.

No. 15, 652 F. Supp. 2d 314, 317 n.1 (E.D.N.Y. 2009)).

                             III.         DISCUSSION


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A.   STANDING

     The “Constitution requires that anyone seeking to invoke

federal jurisdiction . . . have standing to do so.” Crist v.

Comm’n on Presidential Debates, 262 F.3d 193, 194 (2d Cir.

2001). “The law of Article III standing, which is built on

separation-of-powers    principles,     serves   to   prevent    the

judicial process from being used to usurp the powers of the

political branches.” Clapper v. Amnesty Int’l, 568 U.S. 398,

408 (2013).

     To demonstrate that Article III’s standing requirements

are met, a plaintiff must show that:

     (1) it has suffered an “injury in fact” that is (a)
     concrete and particularized and (b) actual or imminent,
     not conjectural or hypothetical; (2) the injury is
     fairly traceable to the challenged action of the
     defendant; and (3) it is likely, as opposed to merely
     speculative, that the injury will be redressed by a
     favorable decision.

Friends of the Earth v. Laidlaw Envtl. Servs. (TOC), 528 U.S.

167, 181–82 (2000). “[E]ach element must be supported in the

same way as any other matter on which the plaintiff bears the

burden of proof, i.e., with the manner and degree of evidence

required at the successive stages of the litigation.” Lujan

v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (internal

quotation marks and citations omitted); see New York v. Trump,

No. 20 Civ. 5770, 2020 WL 5422959, at *9 (S.D.N.Y. Sept. 10,

2020). “[A] plaintiff must demonstrate standing for each


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claim and form of relief sought.” Cacchillo v. Insmed, Inc.,

638 F.3d 401, 404 (2d Cir. 2011).

       When, as here, a case involves “multiple plaintiffs,

only one plaintiff need possess the requisite standing for a

suit to go forward.” New York v. U.S. Dep’t of Agric., 454 F.

Supp. 3d 297, 303 (S.D.N.Y. 2020) (citing Town of Chester v.

Laroe     Estates,     Inc.,    137    S.   Ct.    1645,       1651   (2017);

Massachusetts v. E.P.A., 549 U.S. 497, 518 (2007) (“Only one

of the petitioners needs to have standing to permit us to

consider the petition for review.”)).

       The injury-in-fact requirement is meant to “ensure that

the plaintiff has a personal stake in the outcome of the

controversy.” Susan B. Anthony List v. Driehaus, 573 U.S.

149,    158   (2014)    (internal      quotation    marks      and    citation

omitted). A “future injury” can suffice, if it is “certainly

impending, or there is a substantial risk that the harm will

occur.”    Id.   at    157;    see    Clapper,    568   U.S.    at    414   n.5

(explaining that plaintiffs need not “demonstrate that it is

literally certain that the harms they identify will come

about”); Dep’t of Commerce v. U.S. House of Representatives,

525 U.S. 316, 332-33 (1999) (finding standing when certain

jurisdictions were “substantially likely . . . [to] suffer

vote    dilution”      (internal      quotation    marks       and    citation

omitted)).


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     Traceability         requires   showing      “a   causal   connection

between the injury and the conduct complained of — the injury

has to be fairly traceable to the challenged action of the

defendant, and not the result of the independent action of

some third party not before the court.” Lujan, 504 U.S. at

560 (internal quotation marks, alterations, and citation

omitted). However, traceability does not require “[p]roximate

causation.” Lexmark Int’l, Inc. v. Static Control Components,

Inc., 572 U.S. 118, 134 n.6 (2014). “Article III ‘requires no

more than de facto causality.’” Dep’t of Commerce v. New York,

139 S. Ct. 2551, 2566 (2019) (quoting Block v. Meese, 793

F.2d 1303, 1309 (D.C. Cir. 1986) (Scalia, J.)).

     Redressability requires a showing that it is “likely, as

opposed    to    merely    speculative,    that    the   injury   will   be

redressed by a favorable decision.” Lujan, 504 U.S. at 561

(internal       quotation    marks   and    citation      omitted).      The

plaintiff need not “show that a favorable decision will

relieve his every injury.” Dep’t of Texas, Veterans of Foreign

Wars of U.S. v. Texas Lottery Comm’n, 760 F.3d 427, 432 (5th

Cir. 2014) (citing Larson v. Valente, 456 U.S. 228, 243 n.15

(1982)).

     “Where, as here, Plaintiff is an entity, standing may be

established either (i) directly, based on an injury to the

entity itself, i.e. organizational standing, or (ii) in the


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organization's representative capacity, based on the injuries

to its members, i.e. associational standing.” Pen Am. Ctr.,

Inc. v. Trump, 448 F. Supp. 3d 309, 319 (S.D.N.Y., 2020)

(citing Warth v. Seldin, 422 U.S. 490, 511 (1975); Fair Hous.

Justice Ctr., Inc. v. Cuomo, No. 18 Civ. 3196, 2019 WL

4805550, at *6 (S.D.N.Y. Sept. 30, 2019)).

       An organization seeking to establish direct standing

must “meet[] the same test that applies to individuals.” Pen

Am. Ctr., 448 F. Supp. 3d at 323 (quoting N.Y. Civil Liberties

Union v. N.Y.C. Transit Auth., 684 F.3d 286, 294 (2d Cir.

2012)). Specifically, the organization must show “an imminent

injury in fact to itself as an organization (rather than to

its members) that is distinct and palpable; (ii) that its

injury is fairly traceable to [the challenged action]; and

(iii) that a favorable decision would redress its injuries.”

Centro de la Communidad Hispana de Locust Valley v. Town of

Oyster Bay, 868 F.3d 104, 109 (2d Cir. 2017).

       An organization may establish injury-in-fact by showing

that    the   challenged     conduct     causes    “a        ‘perceptible

impairment’ of an organization's activities . . . .” Nnebe v.

Daus,   644   F.3d   147,   157   (2d   Cir.   2011).    A    perceptible

impairment    occurs    when,     for   example,   the       organization

“divert[s] money from its other current activities to advance




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its established organizational interests . . . .” Centro, 868

F.3d at 110; Pen Am., 448 F. Supp. 3d at 325.

       The    Second    Circuit     recently     addressed         how       an

organization      may   establish    standing    on    the   basis      of    a

perceptible impairment in Moya v. United States Department of

Homeland Security, 975 F.3d 120 (2d Cir. 2020). In that case,

the   plaintiff    immigration      organization      alleged    that    the

defendants’      conduct   had    “frustrated”     its   organizational

mission by forcing the organization to divert its resources.

Specifically, the organization alleged that the defendants’

conduct required it to spend twice as much time servicing

clients who required N-648 disability waiver requests for

naturalization, “leaving less time for [the organization’s]

other   clients.” Id. This        “opportunity     cost,”    the     Second

Circuit said, represented a “real drain on the organization’s

resources” and thus “a perceptible impairment of its ability

to    help    immigrants.” Id. (internal        quotation       marks    and

citation omitted).

       Here, it appears NCBCP has satisfactorily established

Article III standing based on an injury to NCBCP itself.13 As

to    the    injury-in-fact   requirement,      Plaintiffs       filed       an


13 Notably, Defendants make no argument that NCBCP lacks organizational

standing. Instead, Defendants only argue that NCBCP lacks associational
standing. Because the Court concludes that NCBCP has sufficiently
demonstrated organizational standing, however, the Court does not need to
reach the issue of associational standing.


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affidavit from Tameka Ramsey, a representative of BWR Metro

Detroit. (See Ramsey Decl. ¶ 4.) One of BWR Metro Detroit’s

goals   is    “to      promote   and    support     civic    participation,”

including by “helping and encouraging members of the Black

community in Detroit to participate in the Census.” (Id. ¶

6.) Once the organization learned of the robocalls, the BWR

Metro Detroit co-chair “had to stop her Census work in order

to   respond      to      robocalls.” (Id. ¶        10.)    Thus,    like   the

immigration organization in Moya, BWR Metro Detroit and NCBCP

must spend more time on voting-related outreach to combat

Defendants’ disinformation, leaving less time to work on its

Census-related         outreach.   As     in Moya,     this    diversion     of

resources      is      an   opportunity      cost    that     constitutes     a

perceptible impairment of the organization’s activities. As

such, NCBCP has satisfied the injury-in-fact requirement.

     As      to     the     traceability      requirement,          NCBCP   has

established a causal connection between its injury and the

challenged conduct. As Ramsey’s affidavit makes clear, BWR

Metro Detroit became concerned about the robocalls and the

intimidation and fear the calls would cause in the Black

community in the Detroit area. (Ramsey Decl. ¶ 7.) Because

Ramsey “needed to inform [her] community that the robocalls

were false and that voting by mail is safe[,] BWR Metro

Detroit      mobilized       quickly    to    respond,      which     required


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diverting    resources    and   putting      other   important   work    on

hold.” (Id. ¶ 9.) Thus, Plaintiffs have demonstrated that the

injury alleged -- the diversion of resources -- stems directly

from Defendants’ robocalls.

      Finally, as to the redressability requirement, NCBCP has

established that injunctive relief would likely redress its

injury. BWR Metro Detroit has had to redirect its resources

towards conducting outreach to ensure community members know

the robocalls are false, and Ramsey expressed concern “that

if the robocalls continue, BWR [Metro Detroit] will have to

divert additional resources from other programs in order to

protect our community’s right to vote and help people safely

vote by mail.” (Id. ¶ 11.) If Defendants were prohibited from

making    additional     robocalls      or    directed    to     issue    a

correction, however, BWR Metro Detroit would not have to

divert more resources from other programming in order to

correct the disinformation. Accordingly, a court order can

prevent future harm to NCBCP and redress its injury.14

B.    ABSTENTION

      At the October 26 hearing, Defendants suggested that the

Court should stay this action pending the conclusion of state



14 Having concluded that plaintiff NCBCP satisfies Article III, the
Individual Plaintiffs need not have standing for the “suit to go forward,”
though the Court notes that at least some of the Individual Plaintiffs
have standing. See New York, 454 F. Supp. 3d at 303.


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criminal proceedings in Michigan.15               “In the main, federal

courts are obliged to decide cases within the scope of federal

jurisdiction.” Sprint Commc'ns, Inc. v. Jacobs, 571 U.S. 69,

72   (2013).   “[O]nly        exceptional      circumstances      justify    a

federal court’s refusal to decide a case in deference to the

States.” New Orleans Pub. Serv., Inc. v. Council of New

Orleans,     491    U.S.      350,      368   (1989). Well       established

abstention     doctrines         delineate       the   limited     sets     of

circumstances      in    which   federal      courts   will   abstain     from

hearing a case. For the reasons discussed below, the Court

concludes that no abstention doctrine counsels in favor of a

stay in this case.

      Unlike in Younger v. Harris, 401 U.S. 37 (1971), and its

progeny, here there is no plaintiff who is a defendant in a

pending state criminal, administrative, or civil proceeding

and who is asking a federal court to enjoin or otherwise

interfere    with       the   pending    state    matter. Cf. id.     at    46

(holding that a federal court should not enjoin a pending

state criminal proceeding unless necessary to prevent “great

and immediate” irreparable injury); Ohio Civil Rights Comm’n



15Defendants did not reference the Ohio indictment, likely because they
had not yet been charged there at the time of the hearing. Nonetheless,
the Court notes that if Defendants had raised it, the abstention analysis
that follows would remain unchanged. Whether comparing the present motion
to the Michigan or Ohio proceeding, there is no basis for a stay on
abstention grounds.


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v.    Dayton    Christian    Schs.,   Inc.,     477   U.S.    619    (1986)

(extending Younger in the context of a state administrative

proceeding); Juidice v. Vail, 430 U.S. 327 (1977) (extending

Younger in the context of a state court contempt proceeding);

Huffman v. Pursue, Ltd., 420 U.S. 592 (1975) (extending

Younger in the context of a civil state nuisance proceeding).

Younger abstention is therefore inapplicable.

       As the suit before this Court does not involve any state

law claims, abstention is not appropriate under the doctrines

set forth in Railroad Commission v. Pullman Co., 312 U.S. 496

(1941), Burford v. Sun Oil Co., 319 U.S. 315 (1943), or

Louisiana Power & Light Co. v. City of Thibodaux, 360 U.S. 25

(1959).

       Finally, abstention is not warranted under                   Colorado

River Water Conservation District v. United States, 424 U.S.

800   (1976).    “Colorado    River    abstention     is     reserved    for

exceptional circumstances.” U.S. Bank Nat’l Assoc. v. E.

Fordham De LLC, 385 F. Supp. 3d 256, 258 (S.D.N.Y. 2019),

aff’d 804 F. App’x 106 (2d Cir. 2020). As the Second Circuit

recently   stated    when    affirming   this    Court’s      decision    in

United States Bank National Association:

       In deciding whether to abstain under Colorado River, a
       district court must first determine whether the federal
       and state court cases are parallel. Nat’l Union Fire
       Ins. Co. v. Karp, 108 F.3d 17, 22 (2d Cir. 1997). Federal
       and state proceedings are parallel for purposes of


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     abstention when the two proceedings are “essentially the
     same” -- when there is an identity of parties, and the
     issues and relief sought are the same. Id. If the actions
     are deemed parallel, courts are then to consider six
     factors to determine whether abstention is appropriate.
     These factors are: (1) the assumption of jurisdiction by
     either court over any res or property; (2) the
     inconvenience of the federal forum; (3) the avoidance of
     piecemeal   litigation;   (4)    the   order   in   which
     jurisdiction was obtained; (5) whether state or federal
     law supplies the rule of decision; and (6) whether the
     state court proceeding will adequately protect the
     rights of the party seeking to invoke federal
     jurisdiction. De Cisneros, 871 F.2d at 307.

804 F. App’x at 107.

     In this case, the proceedings are not “essentially the

same.” Id. First, the parties in the proceedings are not the

same. NCBCP and the Individual Plaintiffs are not involved in

the Michigan action, and the Michigan prosecutor is not

involved in this action. Although Wohl and Burkman have both

been charged in Michigan, the entity defendants in this action

--   Project 1599 and J.M. Burkman & Associates –- are not

parties to the Michigan criminal proceedings. Second, the

issues in the two cases are not the same. Although both cases

arise from the same set of facts, Plaintiffs in this civil

suit allege violations of federal law, while in Michigan,

Defendants Wohl and Burkman face a prosecution for violations

of Michigan state law. Finally, the relief sought in the two

proceedings is not the same. In Michigan, the prosecutor will

pursue criminal penalties –- that is, criminal fines and


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imprisonment. Here, Plaintiffs seek temporary and permanent

injunctive   relief    as   well    as   compensatory       and    punitive

damages for the harm they suffered. As the proceedings are

not parallel, the Court need not even proceed to consider the

six Colorado River factors. See id.

C.   IRREPARABLE HARM

     Plaintiffs have demonstrated irreparable harm. “Courts

routinely deem restrictions on fundamental voting rights

irreparable injury.” League of Women Voters of N. Carolina v.

North    Carolina,      769    F.3d           224,   247        (4th   Cir.

2014); see also Conn. Dep’t of Envtl. Prot. v. Occupational

Safety & Health Admin., 356 F.2d 226, 231 (2d Cir. 2004)

(noting that the Second Circuit has “held that the alleged

violation of a constitutional right triggers a finding of

irreparable injury”). Given the fundamental nature of the

right to vote, “if potential members of the electorate suffer

intimidation, threatening conduct, or coercion such that

their   right   to   vote   freely      is    abridged,    or    altogether

extinguished,        Plaintiff[s]            would   be         irreparably

harmed.” Ariz. Democratic Party v. Ariz. Republican Party,

No. 16 Civ. 03752, 2016 WL 8669978, at *11 (D. Ariz. Nov. 4,

2016). “Further, if some potential voters are improperly

dissuaded from exercising their franchise, it is unlikely

those voters can be identified, their votes cannot be recast,


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and no amount of traditional remedies such as money damages

would suffice after the fact.” Id.16 Additionally, the injury

NCBCP suffered when BWR Metro Detroit was forced to divert

resources away from its work related to the Census is clearly

irreparable because the Census has now concluded.

     Defendants’ arguments with respect to irreparable harm

are not persuasive. First, Defendants contend that NCBCP

alleged   what   amounts    to   monetary    loss.    But   Defendants

fundamentally    misunderstand     the   nature      of   the   injuries

Plaintiffs claim. The harm NCBCP suffered when it had to

divert its resources away from Census-related programming to

address Defendants’ robocalls cannot be remedied monetarily

because the Census has ended. Moreover, Defendants ignore the

injury inflicted upon Plaintiffs’ and other members of the

electorate’s right to vote free of intimidation. This is an

injury of constitutional significance, and for the reasons




16The Court is unpersuaded by Defendants’ argument that they were merely
“[e]xpressing . . . wariness about the trustworthiness of one mode of
voting over another” and “attempt[ing] to get folks to vote in-person to
ensure voting integrity.” (Opposition at 5.) As set forth in Section
III.D.1, the Court concludes that the statements were designed to
intimidate voters from voting by mail. In the context of a life-
threatening global pandemic, intimidating citizens from voting by mail
results in, at best, “harm in the form of exposure to COVID-19” and, at
worst, preventing eligible voters from casting a ballot altogether. See
Jones v. U.S. Postal Serv., No. 20 Civ. 6516, 2020 WL 5627002, at *12
(S.D.N.Y. Sept. 21, 2020) (concluding that plaintiffs had demonstrated
sufficient injury resulting from mail delays which would force citizens
to vote in person and risk infection).


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discussed above, interference with or abridgment of the right

to vote gives rise to a finding of irreparable injury.17

      Second, Defendants claim that the delay between the time

the robocalls were issued -- on August 26, 2020 -- and the

time Plaintiffs brought their lawsuit -- on October 16, 2020

-- undermines a finding of irreparable harm. But the Second

Circuit has expressly stated that a “two-month delay [does]

not   make   [an]   interim     injunctive    order    inappropriate.”

Mattina ex rel. Nat’l Labor Relations Bd. v. Kingsbridge

Heights Rehab. & Care Ctr., 329 F. App’x 319, 323 (2d Cir.

2009) (citing Kaynard v. MMIC, Inc., 734 F.2d 950, 952, 954

(2d Cir. 1984)). Thus, Defendants’ arguments have failed to

persuade the Court that a sufficient showing of irreparable

harm has not been made in this case.

      At the hearing on October 26, Defendants, appearing pro

se, emphasized that they have not made robocalls since the

institution of criminal proceedings against them in Michigan

and have no plans for further robocalls in the future. The

Court construes these representations as an argument that

Plaintiffs have not shown a sufficiently imminent irreparable



17Relatedly, Defendants’ argument that injury to members of the electorate
who are not plaintiffs in this lawsuit is insufficient to find irreparable
harm is flatly contradicted by Arizona Democratic Party, 2016 WL 8669978,
at *11, which relied on the inability to find and redress the harms felt
by potential voters who were dissuaded from exercising their voting
rights.


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harm. But the Court is not reassured by Defendants’ unsworn,

self-serving assurances that they have no plans to issue any

more robocalls. “A defendant’s expressed intention to cease

the offending conduct is not sufficient to eliminate the

possibility of irreparable harm” absent the existence “of a

consent injunction or other enforceable assurance” that the

offending conduct will not recur. Kuklachev v. Gelfman, 629

F. Supp. 2d 236, 252 (E.D.N.Y. 2008) (citing Twentieth Century

Fox Film Corp. v. Marvel Enters., 155 F. Supp. 2d 1, 49

(S.D.N.Y. 2001)).

       Nor   does   the    Michigan      bail   condition     prohibiting

Defendants      from      issuing     robocalls       or     other      mass

communications undermine the Court’s finding of irreparable

harm. There is some question of whether Wohl has abided by

that   condition    to    date.18   Moreover,    bail      conditions    are

commonly modified, and Plaintiffs have raised legitimate

concerns     regarding    the   scope     of    the   Michigan       court’s

jurisdiction to enforce those conditions, including with

regard to the entities named as defendants in this suit. As

a result, the Court is not persuaded that the bail condition

eliminates the possibility of irreparable harm here.19


18 CTRM 438 36th District Court, WC CR438, YouTube (Oct. 15, 2020),

https://www.youtube.com/watch?v=dyMHDzXEpZ8 (probable cause conference).
19 The Court concludes that, just as Defendants’ alleged cessation of

robocalls does not undermine a finding of irreparable harm, Defendants’
cessation does not render this case moot. For the reasons articulated


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D.    LIKELIHOOD OF SUCCESS ON THE MERITS

      For the reasons set forth below, the Court is persuaded

that Plaintiffs have demonstrated a substantial likelihood of

success on the merits with regard to their claims under the

Voting Rights Act and Ku Klux Klan Act.

      1.      The Voting Rights Act

      a.      History

      Congress passed the Voting Rights Act (“VRA”) in 1965 in

response to the Civil Rights Movement and mounting social

pressures to realize the constitutional guarantee of the

Fifteenth Amendment that the right to vote shall not be denied

“on account of race or color.” H.R. Rep. No. 89–439, at 30

(1965), as reprinted in 1965 U.S.C.C.A.N. 2437, 2439 (“House

Report”). As the House Report explained, the efforts to defend

the   rights    under    the       Fifteenth   Amendment       had,    in   prior

generations,         “fallen       far     short     of    [the       country’s]

aspirations.” Id.

      The Civil Rights Act of 1957 was the first of this era

that attempted to give teeth to the existing voting-rights

laws.   See    Ben    Cady     &    Tom    Glazer,    Voters    Strike      Back:

Litigating Against Modern Voter Intimidation, 39 N.Y.U. Rev.



above, Defendants have failed to carry their       “formidable burden of showing
that it is absolutely clear the allegedly           wrongful behavior could not
reasonably be expected to recur.” Already,         LLC v. Nike, Inc., 568 U.S.
85, 91 (2013) (quoting Laidlaw, 528 U.S. at        190).


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L.   &    Soc.   Change    173,    188    (2015).   Over   the   years   that

followed, Congress modified the voting laws through the Civil

Rights Acts of 1960 and 1964 to address defects litigants

encountered in trying to vindicate the rights these laws were

meant to protect. H.R. Rep. No. 89–439, 1965 U.S.C.C.A.N.

2437,      2440.   Despite    these       modifications,     however,    the

enforcement of the voting-rights laws remained challenging

and slow. Id. at 2440-41. Only seventy-one voting-rights

cases were filed by the Justice Department under all three

Civil     Rights   Acts,     and   despite     these   cases,    widespread

discriminatory practices persisted. See id. at 2441. Against

this backdrop, the Voting Rights Act of 1965 was passed, “to

adopt more effective measures” than existed at the time. Id.

at 2442.

         As relevant here, while the Civil Rights Act of 1957

prohibited intimidation “for the purpose of interfering with

the right to vote in Federal elections,” Section 11(b)’s

prohibitions extended more broadly. See 1965 U.S.C.C.A.N.

2437, 2440. Section 11(b) provides, in relevant part, that:

         No person, whether acting under color of law or
         otherwise, shall intimidate, threaten, or coerce, or
         attempt to intimidate, threaten, or coerce any person
         for voting or attempting to vote.

52 U.S.C. § 10307(b). Likewise, while the Civil Rights Act of

1957 prohibited intimidation “for voting or attempting to



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vote,” the VRA extended the protections to not just voting,

but to other voting-related conduct, including, for example,

encouraging others to vote or helping register other voters.

See id. Section 11(b)’s reach is extensive, in accordance

with the VRA’s ambitious aims of encouraging true enforcement

of the Fifteenth Amendment’s promise of unencumbered access

to the vote, regardless of race. See 1965 U.S.C.C.A.N. 2437.

     b.   Scope and Enforceability

     As a threshold matter, and by its clear terms, Section

11(b) undoubtedly applies to private conduct, and private

individuals are subject to its prohibitions. League of United

Latin Am. Citizens - Richmond Region Council 4614 v. Pub.

Interest Legal Found. (“LULAC”), No. 18 Civ. 423, 2018 WL

3848404, at *3 (E.D. Va. Aug. 13, 2018) (concluding that

Section 11(b) reaches private conduct upon a review of the

case law and statutory text). Indeed, Section 11(b) provides

that “no person” shall interfere, “whether acting under color

of law or otherwise,” with “any person’s” right to vote. That

the prohibited acts may be “under color of law or otherwise,”

and that the contemplated perpetrator and victim “persons”

are not limited or qualified, both reflect Section 11(b)’s

reach beyond government actors.

     Defendants contend that Section 11(b) affords no private

right of action. That is incorrect. Consistent with Section


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11(b)’s broad reach, both the government and private parties

may sue to enforce Section 11(b). See Arizona Democratic

Party, 2016 WL 8669978, at *4 (concluding that Section 11(b)

“does not exclude a private right of action for injunctive

relief”) (citing Allen v. State Bd. of Elections, 393 U.S.

544, 556 (1969) (holding that Section 5 of the VRA implied a

private right of action because the “laudable goal” of the

VRA to “make the guarantees of the Fifteenth Amendment finally

a reality for all citizens” would be “severely hampered . . .

if each citizen were required to depend solely on litigation

instituted at the discretion of the Attorney General”)); Cady

& Glazer, supra, at 183 (explaining that the Ku Klux Klan Act

and the VRA “create private rights of action in federal

courts”); see also, e.g., LULAC, 2018 WL 3848404, at *1

(denying a motion to dismiss the Section 11(b) claim brought

by an organization and four individual plaintiffs).

      c.    No Racial Animus or Targeting Required

      A    plaintiff    need   not        show    racial     animus    or

discrimination to establish a violation of Section 11(b).

First, the statutory text prohibits intimidation, threats,

and   coercive   conduct,   without       any    explicit   or   implicit

reliance    on   the   motivation    of    the    actor.    Indeed,   the

legislative history makes clear that “[t]he prohibited acts

of intimidation need not be racially motivated.” H.R. Rep.


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No. 89–439, 1965 U.S.C.C.A.N. at 2462; see also Willingham v.

County of Albany, 593 F. Supp. 2d 446, 462 (N.D.N.Y. 2006)

(“While the purpose of the VRA was to eliminate racial

discrimination in voting, [Section] 11(b) of the act does not

explicitly require proof that racial discrimination motivated

the intimidation, threats, or coercion.”); Cady & Glazer,

supra, at 190 (“[S]ection 11(b) was a deliberate attempt to

expand    the   existing   laws    against   voter   intimidation,

including by eliminating any legal requirement of racial

targeting.”).

     d.    “Intimidate, Threaten, or Coerce”

     To establish a claim under Section 11(b), a plaintiff

must show that the defendant has intimidated, threatened, or

coerced someone for voting or attempting to vote, or has

attempted such intimidation, threat, or coercion. In the

sections that follow, the Court discusses conduct encompassed

by the terms “intimidate,” “threaten,” and “coerce.” After

considering the text of the statute and First Amendment

principles bearing on its interpretation, the Court describes

cases applying Section 11(b), as well as other statutes

containing similar prohibitions on threats and intimidation.

     These authorities confirm that threats and intimidation

include messages that a reasonable recipient familiar with

the context of the message would interpret as a threat of


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injury tending to deter individuals from exercising their

voting rights. The threatened injury need not be one of

violence or bodily harm. For example, threats of economic

harm, legal action, dissemination of personal information,

and surveillance can qualify depending on the circumstances.

      i.      The Statutory Language

      In     deciding    what   conduct   is   covered   by    the   terms

“intimidate,” “threaten,” and “coerce,” the Court must begin

with the plain meaning of the statutory language. E.g., United

States v. Reynoso, 239 F.3d 143, 146 (2d Cir. 2000) (citing

United States v. Piervinanzi, 23 F.3d 670, 677 (2d Cir. 1994)

(“[T]he starting point for interpreting a statute is the

language of the statute itself.”)). As “usual,” the Court

must also “interpret the relevant words not in a vacuum, but

with reference to the statutory context, structure, history,

and purpose.” L.S. v. Webloyalty.com, Inc., 954 F.3d 110, 115

(2d   Cir.    2020)     (internal   quotation   marks    and   citations

omitted).

      The words “intimidate,” “threaten,” and “coerce,” have

familiar and somewhat overlapping definitions. See Webster's

Third New International Dictionary (1966). To “intimidate”

means to “make timid or fearful,” or to “inspire or affect

with fear,” especially “to compel to action or inaction (as

by threats).” Id. at 1183. To “threaten” means to “utter


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threats against” or “promise punishment, reprisal, or other

distress.” Id. at 2381. And to “coerce” means to “restrain,

control, or dominate, nullifying individual will or desire

(as by force, power, violence, or intimidation).” Id. at 438.

     ii.   First Amendment Considerations

     Defendants    argue     in     their        Opposition      that   their

robocalls communicated a message entitled to First Amendment

protection.     Statutes     such        as     the   VRA   that    restrict

threatening speech “must be interpreted with the commands of

the First Amendment clearly in mind. What is a threat must be

distinguished     from     what     is        constitutionally     protected

speech.” Watts v. United States, 394 U.S. 705, 708 (1969)

(per curiam).

     To determine whether a restriction on speech is content-

based and hence subject to strict scrutiny, a court must

“consider whether a regulation of speech on its face draws

distinctions based on the message a speaker conveys.” Reed v.

Town of Gilbert, 576 U.S. 155, 163 (2015) (citation omitted).

“Some facial distinctions based on a message are obvious,

defining regulated speech by particular subject matter, and

others are more subtle, defining regulated speech by its

function or purpose. Both are distinctions drawn based on the

message a speaker conveys, and, therefore, are subject to

strict scrutiny.” Id. at 163-64.


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       Section 11(b) proscribes speech based on the message the

speaker conveys -- specifically whether the content of the

speaker’s message is threatening or intimidating to voters.

See Reed, 576 U.S. at 163. Section 11(b) does not regulate

other types of messages, such as communications encouraging

voter registration. To determine whether a violation of the

statute has occurred, the content of the speaker’s message

must be examined. See McCullen v. Coakley, 573 U.S. 464, 479

(2014) (“The Act would be content based if it required

enforcement authorities to examine the content of the message

that   is     conveyed    to   determine    whether      a    violation   has

occurred.”) (internal quotation marks and citations omitted).

Thus, Section 11(b) is a content-based speech restriction.

       Over    time,     the   Supreme     Court   has       defined   narrow

categories of speech that can be prohibited based on content.

Such   categories      include,   for    example,     true     threats,   see

Watts, 394 U.S. at 708; speech directed at and likely to

incite imminent lawless action, see Brandenburg v. Ohio, 395

U.S. 444, 447 (1969) (per curiam); child pornography, see New

York v. Ferber, 458 U.S. 747 (1982); obscenity, see Miller v.

California, 413 U.S. 15 (1973); and fighting words, see

Chaplinsky v. New Hampshire, 315 U.S. 568 (1942).

       False statements are not categorically excluded from

First Amendment protection. See United States v. Alvarez, 567


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U.S. 709, 718-22 (2012) (plurality); id. at 732-37 (Breyer,

J., concurring). Although false statements that discourage

people from exercising the right to vote could conceivably be

exempted from First Amendment protection altogether, the

Supreme Court has not crafted such an exemption.20

      As noted above, true threats are not entitled to First

Amendment protection. See Watts, 394 U.S. at 708. The Second

Circuit applies an objective test to determine whether a

defendant’s statement is a true threat. See United States v.

Turner, 720 F.3d 411, 420 (2d Cir. 2013). Specifically, the

“test for whether conduct amounts to a true threat is . . .

whether an ordinary, reasonable recipient who is familiar

with the context of the [communication] would interpret it as

a   threat   of   injury.”   Id.   (internal   quotation    marks   and

citations omitted); see also United States v. Santos, 801 F.

App’x 814, 816 (2d Cir. 2020) (applying the Turner test).

      Prohibitions on true threats are constitutional “even

where the speaker has no intention of carrying them out.”

Turner, 740 F.3d 420. At the same time, however, “political

hyperbole” is not a true threat, even when “crude,” “abusive,

and inexact.” Watts, 394 U.S. at 708 (holding that the



20 The Supreme Court upheld a statute that banned electioneering within

100 feet of a polling place in Burson v. Freeman, 504 U.S. 191, 206, 211
(1992) (plurality), finding that the regulation advanced the state’s
interests in protecting the right to vote and electoral integrity.


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statement “If they ever make me carry a rifle the first man

I want to get in my sights is L.B.J.” did not amount to a

true threat). Courts examine the language used and the context

of the message to distinguish true threats from hyperbole.

See Turner, 740 F.3d at 421 (“The full context of Turner's

remarks reveals a gravity readily distinguishable from mere

hyperbole    or   common      public     discourse.”).       In    Watts,    for

example,    the   Supreme      Court     considered     the       context    and

expressly conditional nature of the statement at issue, as

well as listeners’ laughter in response to the statement, as

supporting    the    conclusion        that    the   statement       was    mere

hyperbole. See Watts, 394 U.S. at 708.

     The    threat    need    not   be      expressed   in    first   person,

unconditional,       future    tense.       “[R]igid    adherence      to    the

literal meaning of a communication without regard to its

reasonable connotations derived from its ambience” would

render prohibitions on true threats “powerless against the

ingenuity of threateners who can instill in the victim’s mind

as clear an apprehension of impending injury by an implied

menace as by a literal threat.” Turner, 740 F.3d at 422

(quoting United States v. Malik, 16 F.3d 45, 50 (2d Cir.

2013), and citing United States v. Shoulberg, 895 F.2d 882,

886 (2d Cir. 1990)). In fact, in Virginia v. Black, 538 U.S.

343, 354, 357, 363 (2003), the Supreme Court recognized that,


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interpreted in a broader historical and social context, cross

burnings      can    constitute      true      threats        even    though       they

communicate no explicit message.

       The Supreme Court has not squarely addressed whether

threats of nonviolent or nonphysical harm can constitute true

threats. In Black, the Court explained that “[t]rue threats

encompass      those      statements       where        the   speaker       means    to

communicate a serious expression of an intent to commit an

act of unlawful violence to a particular individual or group

of individuals.” 538 U.S. at 359 (emphasis added). That is,

the Court explained that true threats include threats of

unlawful violence; the Court did not specify whether only

threats of unlawful violence are true threats. With regard to

intimidation, the Court explained that “[i]ntimidation in the

constitutionally proscribable sense of the word is a type of

true threat” that exists “where a speaker directs a threat to

a person or group of persons with the intent of placing the

victim   in    fear      of     bodily   harm      or    death.”      Id.    at     360.

Prohibition         of   true    threats      is    appropriate,        the       Court

reasoned, because it “protects individuals from the fear of

violence and the disruption that fear engenders, as well as

from   the    possibility         that   the       threatened        violence       will

occur.” Id. (citations omitted).




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     This    Court   does    not   interpret      the    Supreme   Court’s

analysis in Black to suggest that the government can ban only

threats of physical harm. The threat of severe nonbodily harm

can engender as much fear and disruption as the threat of

violence.    Indeed,   the   Second     Circuit    has    indicated   that

threats     of   serious    nonphysical    harm     are    true    threats

unprotected by the First Amendment. In Turner, the Second

Circuit approvingly cited constitutional law scholar and

legal philosopher Kent Greenawalt for the proposition that:

     Despite the relevance of freedom of speech, a
     legislature could reasonably decide to make it criminal
     for a person with apparent firmness of purpose to
     threaten a specific legal wrong grave enough to be likely
     either to cause substantial emotional disturbance in the
     person threatened or to require the employment of
     substantial resources for investigation or prevention.

Turner, 720 F.3d at 420 (quoting Kent Greenawalt, Speech,

Crime and the Uses of Language 91 (1989)). Moreover, the

Second Circuit’s test for identifying a true threat, as set

forth in Turner, requires only a showing that a reasonable

recipient “would interpret [the message] as a threat of

injury.” Id. at 420 (emphasis added). The Court accordingly

does not interpret the First Amendment as prohibiting the

government from restricting speech that communicates threats

of nonviolent or nonbodily harm.




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     Whether       true   threats    are   only    statements       that    the

speaker intended as threats likewise remains unresolved by

the Supreme Court. The Second Circuit has explained:

     [In] Virginia v. Black, . . . the Supreme Court stated
     that “‘[t]rue threats’ encompass those statements where
     the speaker means to communicate a serious expression of
     an intent to commit an act of unlawful violence to a
     particular individual or group of individuals.” Since
     Black, some disagreement has arisen among our sister
     circuits regarding whether Black altered or overruled
     the traditional objective test for true threats by
     requiring that the speaker subjectively intend to
     intimidate    the     recipient    of     the    threat.

Id. at 420 n.4 (citations omitted) (emphasis added). The

Second Circuit declined to resolve that question in Turner,

because, on the facts of that case, “a true threat was

established pursuant to both the objective and subjective

tests.” Id. Moreover, even if the Constitution requires a

showing    of   subjective      intent     in     criminal   cases,        that

requirement may not apply in civil cases. See United States

v. Elonis, 135 S. Ct. 2001, 2009 (2015) (interpreting a

statute    criminalizing      threats      as   containing      a    scienter

requirement in light of “the general rule . . . that a guilty

mind is a necessary element in the indictment and proof of

every     crime”    (internal       quotation     marks   and       citations

omitted)).

     This question of intent is of particular relevance to

Section 11(b) of the VRA because it contains no explicit


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requirement of intent. Ultimately, however, the Court need

not   resolve    this      question.      For    reasons    discussed       below,

whether or not Section 11(b) must be construed as including

an intent requirement does not alter the outcome here.

      iii. Cases Applying Section 11(b)

      Consistent with the text of Section 11(b) and the First

Amendment     considerations         described        above,       courts    have

concluded that conduct putting others “in fear of harassment

and   interference         with   their     right    to    vote”    constitutes

intimidation “sufficient” to support a Section 11(b) claim.

E.g.,   LULAC,      2018    WL    3848404,      at   *4    (quoting   Damon    v.

Hukowitz,     964    F.     Supp.    2d     120,     149    (D.    Mass.    2013)

(“Intimidation means putting a person in fear for the purpose

of compelling or deterring his or her conduct.”)).

      Conduct that puts others “in fear of harassment and

interference with their right to vote” naturally includes

egregious conduct, such as acts of violence. See, e.g.,

Katzenbach v. Original Knights of Ku Klux Klan, 250 F. Supp.

330, 337 (E.D. La. 1965) (finding that assault and economic

retaliation           constituted               unconstitutional             voter

intimidation).

      But unlawful voter intimidation also includes subtler

forms of intimidation that do not threaten bodily harm. For

example, in Daschle v. Thune, the court issued a temporary


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restraining order against defendants who had been following

Native American voters within polling places, “ostentatiously

making noises” behind them, discussing Native Americans who

were prosecuted for illegally voting, following them out of

the   polling   places,   and   recording   their   license      plate

numbers. See Decision and Order at 2, No. 4:04 Civ. 04177

(D.S.D. Nov. 1, 2004); see also Complaint at 5-6, id. In

imposing the restraining order, the court found that this

conduct resulted in “the intimidation of prospective Native

American voters.” Decision and Order at 2, id.

      iv.   Other Statutes

      Decisions   interpreting    the   terms   “intimidate”       and

“threaten” in other statutes are also instructive. Indeed,

the “whole code canon” instructs that identical terms should

typically be construed consistently across different acts or

titles of the United States Code. See, e.g., Buckeye Check

Cashing, Inc. v. Cardegna, 546 U.S. 440, 448 n.3 (2006) (“Our

more natural reading is confirmed by the use of the word . . .

elsewhere in the United States Code.”); see also United States

v. Harmon, No. CR 19-395, 2020 WL 4251347, at *9 (D.D.C. July

24, 2020) (citing K.L. v. R.I. Bd. of Educ., 907 F.3d 639,

646 (1st Cir. 2018) (referencing the “‘whole code’ canon,”

“under which courts construe terms across different” acts or

titles of a legal code “consistently”)).


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     Communicating          the      prospect      of      adverse        legal

consequences, including arrest or prosecution, may rise to

the level of an unlawful threat or intimidation. In United

States v. McLeod, the Fifth Circuit held that certain arrests

and prosecution constituted unlawful voter intimidation. 385

F.2d 734 (5th Cir. 1967) (interpreting a provision of the

1957 Civil Rights Act that prohibits intimidation, threats,

or coercion for the purpose of interfering with the right to

vote). In McLeod, a sheriff stationed officers in and around

voter-registration meetings, and the officers “made notes

during the meetings, took down the license numbers of cars in

the area, and spoke with each other and with the sheriff’s

office by portable two-way radio.” Id. at 737. Two individuals

involved   with   the       meetings        were   later    arrested        and

prosecuted. Id. at 737-38. Subsequently, state officials

arrested twenty-nine Black individuals attending a voter-

registration meeting based on traffic violations. Id. at 738.

Addressing both sets of conduct, the Fifth Circuit held that

it was intimidating and coercive, explaining that “[i]t is

difficult to imagine anything short of physical violence

which   would   have    a     more    chilling     effect     on     a    voter

registration drive than the pattern of baseless arrests and

prosecutions    revealed      in     this    record.”   Id.    at        740-41.

Similarly, in Lovejoy-Wilson v. NOCO Motor Fuel, Inc., 263


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F.3d 208, 222-23 (2d Cir. 2001), the Second Circuit concluded

that an employer’s statement to his employee that if the

employee      continued    requesting       accommodations       for     her

disability, he would address her behavior “through legal

channels” could constitute an unlawful threat or intimidation

in violation of the Americans with Disabilities Act.

       Economic pressure may also be considered a form of

intimidation. See, e.g., United States v. Beaty, 288 F.2d

653, 654-57 (6th Cir. 1961) (applying the Civil Rights Act of

1957   and    holding   that   the   eviction     of   sharecroppers     as

punishment     for   registering     to    vote   constitutes    unlawful

intimidation); United States v. Bruce, 353 F.2d 474, 476-77

(5th   Cir.    1965)    (finding     unlawful     intimidation    when    a

landowner restricted an insurance collector’s access to the

landowner’s property due to the insurance collector’s efforts

to register voters).

       Courts have defined “intimidation” for purposes of the

Fair   Housing    Act   (“FHA”),21    as    including   nonviolent       and

nonbodily harm such as surveillance and derogatory remarks.

The Ninth Circuit has said that “[i]ntimidation [under the

FHA] would require” simply “a showing that the [defendant’s]

activities had generated fear in the [plaintiff].” Walker v.


21 As the Second Circuit has recognized, the language of the FHA and
Section 11(b) of the VRA is “very similar.” New York v. Davis, 411 F.2d
750, 753 (2d Cir. 1969).


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City of Lakewood, 272 F.3d 1114, 1129 n.4 (9th Cir. 2001). In

People Helpers Foundation, Inc. v. City of Richmond, 781 F.

Supp. 1132, 1135 (E.D. Va. 1992), the district court concluded

that    plaintiffs   adequately    alleged    unlawful    threats    and

intimidation under the FHA when they alleged that defendants

had photographed plaintiffs and People Helpers volunteers and

made derogatory remarks about the Black residents. Id. at

1135-36.

       Under    certain     circumstances,       warnings      of    the

dissemination of personal information can also constitute a

threat or intimidation. In United States v. Nguyen, 673 F.3d

1259, 1265 (9th Cir. 2012), the Ninth Circuit considered a

letter that was widely distributed among Latino immigrants

and “warned . . . that if they voted in the upcoming election

their personal information would be collected . . . and . . .

could    be    provided   to   organizations      who    are   ‘against

immigration.’” Id. On the facts of that case, the Ninth

Circuit concluded that the there was “sufficient” basis for

a jury to conclude that the mailing constituted unlawful

“intimidation” under California law. Id.22


22Defendants quote at length from United States v. McNeal, 818 F.3d 141,
153 (4th Cir. 2016), in which the Fourth Circuit explained that courts
interpret the word “intimidation” as referencing a threat to use physical
force in the context of criminal statutes defining bank robbery. Because
the provisions of the VRA and the Ku Klux Klan Act at issue here are not
defining “crimes involving takings ‘by force and violence, or by
intimidation,’” McNeal and the cases cited within it are inapposite. See


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      e.    Likelihood of Success on Plaintiffs’ VRA Claim

      The Court is persuaded that Plaintiffs are substantially

likely to prevail in proving that the robocalls violated

Section 11(b). The calls state that personal information will

be disclosed to creditors, the CDC, and law enforcement --

and with significant consequences. The calls explicitly state

that creditors will use the information to collect debts,

that the CDC will use it to identify people for mandatory

vaccination, and that law enforcement will use it to enforce

old, outstanding warrants.

      The    context     in    which       Defendants’       message      was

communicated     supports     a    conclusion       that      the    message

constituted a threat or intimidation. See McLeod, 385 F.2d at

740   (explaining      defendants’     “acts      cannot    be   viewed   in

isolation” and “must be considered against the background of

contemporaneous     events    in   Selma    and    the     general   climate

prevailing there at the time”); Turner, 720 F.3d at 420 (the

“test for whether conduct amounts to a true threat is . . .

whether an ordinary, reasonable recipient who is familiar

with the context of the [communication] would interpret it as

a threat of injury”). And in context, it is not difficult to


id. The statutory schemes discussed in this section -- including the Fair
Housing Act, the 1957 Civil Rights Act, and the Americans with
Disabilities Act -- are more closely analogous to those at hand and
therefore offer more useful guidance with regard to the proper
construction of the term intimidation within the VRA and KKK Act.


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see how the references to arrest warrants, outstanding debt,

and mandatory vaccines may cause reasonable Black voters to

resist voting out of fear. The history of discriminatory

policing,     discriminatory         lending     and   debt     collection

practices, and unethical medical procedures within the Black

community, as highlighted by Plaintiffs, continue to generate

reasonable      mistrust       of     law      enforcement,      financial

institutions, and the medical community.23 Additionally, the

COVID-19 pandemic has had a disproportionate impact on Black

communities. See Nguyen, 673 F.3d at 1265 (concluding there

was a fair probability that a letter stating that personal

information     of    Latino        voters     would   be     provided   to

organizations        “against        immigration”      was      unlawfully

threatening and intimidating).



23 The Court considers the historical existence of discriminatory
policing, lending, debt collection, and medical practices to be a
generally known fact and hence properly subject to judicial notice. See,
e.g.,   Sarah   A.   Seo, Policing  the   Open   Road (2019)  (discussing
historically discriminatory policing practices); Austin Frakt, Bad
Medicine: The Harm That Comes From Racism, N.Y. Times (Jan. 13,
2020) https://www.nytimes.com/2020/01/13/upshot/bad-medicine-the-harm-
that-comes-from-racism.html (providing historical examples of “unjust
treatment of nonwhite groups in health care”); Paul Kiel & Annie Waldman,
The Color of Debt: How Collection Suits Squeeze Black Neighborhoods,
ProPublica    (Oct.   8,  2015), https://www.propublica.org/article/debt-
collection-lawsuits-squeeze-black-neighborhoods (tying the racial wealth
gap to historic discrimination and finding that in recent years even
accounting for income, the rate of court judgments from debt collection
lawsuits was twice as high in mostly black communities); Tuskegee Study,
1932-1972,         Ctrs.       for       Disease        Control       and
Prevention, https://www.cdc.gov/tuskegee/index.html (last visited Oct.
25, 2020) (referencing United States Public Health Service experiment in
which adequate treatment for syphilis was withheld “from a group of poor
black men who had the disease, causing needless pain and suffering for
the men and their loved ones”).


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      Context indicates that a reasonable recipient would

likely interpret the prospect of a forced vaccination, in

particular, as a threat of bodily injury to voters who vote

by mail. Interpreting this portion of the message in context

requires recognition of the widespread uncertainty within the

United States concerning the efficacy and safety of the COVID-

19 vaccines under development.24 In this environment, the

robocalls’ statement concerning mandatory vaccinations is

reasonably perceived as a threat of bodily harm.

      Moreover, by stating that voters’ personal information

“will   be   used   by   police   departments    to   track   down   old

warrants,” the calls may fairly be perceived as threatening

arrest or legal action against those with criminal records.

Such conduct has previously been held to be intimidating.

See, e.g., McLeod, 385 F.2d 734 (holding that baseless or

pretextual      arrests     and     prosecutions      were     unlawful

intimidation); Damon, 964 F. Supp. 2d at 150 (stating that “a

threat of arrest would presumably qualify under the right



24 U.S. Public Now Divided Over Whether to Get COVID-19 Vaccine, Pew

Research     Ctr.:    U.S.     Policy    &     Politics    (Sept.     17,
2020), https://www.pewresearch.org/science/2020/09/17/u-s-public-now-
divided-over-whether-to-get-covid-19-vaccine/ (finding that 77 % of
Americans “think it’s very or somewhat likely a COVID-19 vaccine will be
approved in the United States before its safety and effectiveness are
fully understood” and that “[j]ust 32% of Black adults say they would
definitely or probably get a COVID-19 vaccine, compared with 52% of White
adults . . . .”).




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circumstances       as   threats,     intimidation,        or     coercion”);

Lovejoy-Wilson, 263 F.3d 208 (holding that the threat of legal

action could violate the prohibition on intimidation in the

Americans with Disabilities Act).

      Likewise, the reference to credit card companies and

debt collection could instill fears that voters would face

adverse economic consequences if they exercised their right

to vote by mail. Courts have recognized that such economic

pressure may also be intimidating. See Beaty, 288 F.2d 657

(holding    that      the    threat        of   eviction        was   unlawful

intimidation); Bruce, 353 F.2d 474, 476-77 (holding that

restricting    an     individual’s         access    to   his    clients   was

intimidating or coercive).

      Here, that Plaintiffs did not immediately dismiss the

robocalls indicates that the broadcasted message was more

than mere hyperbole. In their affidavits, the Individual

Plaintiffs repeatedly attest that they were frightened and

enraged by the calls. In fact, both Winter and Steinberg

testified that they were so shaken by the threats these calls

posed that they no longer plan to vote by mail. (Winter Decl.

¶   16;   Steinberg      Decl.   ¶¶ 14-15.)         Similarly,    Sferes   and

Steinberg, having outstanding medical debt and an old arrest




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warrant, respectively, were both especially distressed by

what appeared to be the prospect of future penalties.25

      It is true that the robocalls were not themselves violent

and are not as egregious as the physical acts of intimidation

seen in some of the case law. But, as discussed above,

“threats, intimidation or coercion may take on many forms.”

Beaty, 288 F.2d at 654. There is no requirement -- in the

statutory text or the case law -- that intimidation be violent

or physical. Cf. People Helpers Found., Inc., 781 F. Supp. at

1135 (explaining that “even if the acts of the [defendants]

were not violent or illegal per se, they may still have

constituted interference, intimidation, or coercion under

[the FHA]”).

      Rather,    as   discussed    above,    subtle    forms    of   voter

intimidation are equally prohibited, and the robocalls share

striking     similarities       with     some    of    the     nonviolent

intimidation in the cases. For instance, in Daschle, the court

concluded that conduct such as photographing license plates

and speaking loudly about other Native American defendants


25 The claims in the robocall were likewise not mere statements of opinion.

Whether a statement is one of opinion or fact depends on the “content of
the communication as a whole, its tone and apparent purpose.” Davis v.
Boeheim, 22 N.E.3d 999, 1005 (N.Y. 2014) (applying New York law). The use
of the phrase “did you know” before the claims regarding how the
recipients’ personal information would be used was not “loosely definable”
or “variously interpretable.” See Ollman v. Evans, 750 F.2d 970, 980 (D.C.
Cir. 1984). Viewing the content of the call as a whole, then, it is clear
the statements were expressed as statements of fact rather than, as
Defendants argue, statements of opinion.


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who   had    been   arrested      for   voter   fraud   constituted

intimidation. Decision and Order at 2, Daschle, No. 4:04 Civ.

04177. Just as the defendants in Daschle instilled reasonable

fears in Native American voters about facing legal trouble

for voting, the robocalls here likely did and would inspire

fear in reasonable voters, like Steinberg and Sferes, about

being targeted by law enforcement or debt collectors if they

vote by mail.

      The robocalls are also akin to the letters the Ninth

Circuit deemed likely intimidating in Nguyen. The letters in

Nguyen targeted Latinos and warned about voters’ information

being transmitted to anti-immigration groups. 673 F.3d at

1265. The robocalls here target Black voters and warn about

private     information   being    shared   with   groups   --   law

enforcement, debt collectors, and the CDC -- that might

realistically take adverse action against them. In short,

like the letters in Nguyen, and the comments made by the

Daschle defendants, the robocalls reasonably arouse fear in

recipients about the consequences of voting by mail and thus

are subtler, but no less potent, forms of intimidation.

      The Court deems it highly relevant that this message was

conveyed directly to individual voters by phone, that the

speaker of the message was cast as a seemingly familiar

figure, and that the language was designed to communicate


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harms that “you” -- the individual who answered the phone --

will suffer. Although the content of the message was not

individualized, it nonetheless bore many of the hallmarks of

a personal communication. These features of the robocalls

contribute to the Court’s understanding of the communication

as intimidating and distinguish it from statements made by

pundits on television, candidates at political rallies, and

commentators      and      public     officials      on    social   media.

Additionally,     that     the      message   was    falsely    framed    as

originating from a “civil rights organization” lent gravity

and a fake appearance of credibility to the warnings it

conveyed.

       The evidence and the precedent support the conclusion

that    the    robocalls     put     the   Individual      Plaintiffs    “in

[reasonable] fear of harassment and interference with their

right to vote.” LULAC, 2018 WL 3848404, at *4. Furthermore,

whether they were ultimately intimidated, threatened, or

coerced does not undermine this analysis. Indeed, Section

11(b)   also    prohibits    conduct       that   serves   to   intimidate,

threaten, or coerce, and attempts to intimidate, threaten,

and coerce in equal measure. See 52 U.S.C. § 10307(b).

       Likewise, even if Section 11(b) contained an intent

requirement -- which by its plain language it does not --

Plaintiffs would likely succeed in showing that Defendants’


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conduct here was intentional. In early 2019, Wohl told USA

Today that he and Burkman were planning                  “ways to discredit

Democrats in the 2020 election” and “cause disarray.”26 A

draft of his “business plan” revealed that Wohl planned to

“disseminate false information about Democratic presidential

candidates to swing political betting markets.”27 No wonder,

then, that the robocalls reached recipients in urban areas

with     significant       minority      populations     who    largely   skew

Democratic.28 Defendants’ prior conduct and expressed goals,

together with the language of the robocall and its context,

provide      strong      support   for    a     conclusion   that   Defendants

intended      the     robocall     to    harm    Democrats     by   suppressing

turnout among Black voters. Furthermore, the natural outcome

of broadcasting the robocall message was voter intimidation,

and “normally” a person “is presumed to have intended the

natural consequences of his deeds.” Washington v. Davis, 426

U.S. 229, 253 (1976) (Stevens, J., concurring).

        For the reasons stated above, the Court concludes that

Plaintiffs have demonstrated a substantial likelihood of

success on their Section 11(b) claim. The Court further



26   See supra note 2.
27See supra note 3.
28Trends in Party Affiliation Among Demographic Groups, Pew Research Ctr:
U.S.      Policy       &       Politics      (Mar.       20,       2018),
https://www.pewresearch.org/politics/2018/03/20/1-trends-in-party-
affiliation-among-demographic-groups/.


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concludes that application of Section 11(b) to the conduct at

issue   in   this   case   is   fully   consistent    with   the   First

Amendment because the robocall message was a true threat.29

2.    The Ku Klux Klan Act

      42 U.S.C. § 1985(3), a provision of the Ku Klux Klan Act

of 1871 (“KKK Act”), reads in its entirety:

      If two or more persons in any State or Territory conspire
      or go in disguise on the highway or on the premises of
      another, for the purpose of depriving, either directly
      or indirectly, any person or class of persons of the
      equal protection of the laws, or of equal privileges and
      immunities under the laws; or for the purpose of
      preventing or hindering the constituted authorities of
      any State or Territory from giving or securing to all
      persons within such State or Territory the equal
      protection of the laws; or if two or more persons
      conspire to prevent by force, intimidation, or threat,
      any citizen who is lawfully entitled to vote, from giving
      his support or advocacy in a legal manner, toward or in
      favor of the election of any lawfully qualified person
      as an elector for President or Vice President, or as a
      Member of Congress of the United States; or to injure
      any citizen in person or property on account of such
      support or advocacy; in any case of conspiracy set forth
      in this section, if one or more persons engaged therein
      do, or cause to be done, any act in furtherance of the
      object of such conspiracy, whereby another is injured in
      his person or property, or deprived of having and
      exercising any right or privilege of a citizen of the
      United States, the party so injured or deprived may have
      an action for the recovery of damages occasioned by such
      injury or deprivation, against any one or more of the
      conspirators.

29Even if the robocall were not a true threat, the Court would conclude
that content-based speech restrictions imposed by the VRA and KKK, as
interpreted above, are narrowly tailored to advance compelling government
interests. See Burson v. Freeman, 504 U.S. at 198-99 (plurality) (“[A]
State has a compelling interest in protecting voters from confusion and
undue influence.”).


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41 U.S.C. § 1985(3) (emphases added). Section 1985(3) is

comprised of multiple clauses. See Kush v. Rutledge, 460 U.S.

719, 726 (1983) (emphasizing that past precedent interpreted

only “the first clause of [Section] 1985(3)”); see also Cady

& Glazer, supra, at 203. The italicized portion, or the first

clause of Section 1985(3), is commonly referred to as the

“Equal Protection Clause,” while the underlined portion is

referred to as the “Support or Advocacy Clause.” See Note,

The Support or Advocacy Clause of 1985(3), 133 Harv. L. Rev.

1382, 1390-91 (2020). Though the vast majority of cases

interpreting      §    1985(3)    pertain   to   the     Equal   Protection

Clause, the Support or Advocacy Clause is the focus of the

present case.30

      Based on the statutory text, the elements of a Section

1985(3)   claim       brought    for   violations   of    the    Support   or

Advocacy Clause include: (1) a conspiracy; (2) the purpose of




30 One key distinction between the Support or Advocacy Clause and the
Equal Protection Clause merits mention. The Support or Advocacy Clause
created “a Federal right . . . to recover damages for interfering with
Federal voting rights.” Paynes v. Lee, 377 F.2d 61, 64 (5th Cir. 1967).
The Equal Protection Clause, on the other hand, allows only for recovery
for “deprivations of equal protection or equal privileges and immunities
under the Fourteenth Amendment.” See id. While the Equal Protection Clause
thus requires a violation of a separate constitutional right, Great Am.
Fed. Sav. & Loan Ass’n v. Novotny, 442 U.S. 366, 372 (1979), the Support
or Advocacy Clause gives rise to an independent substantive right -- the
right to vote and participate in voting-related activities. Accordingly,
plaintiffs bringing claims under the Support or Advocacy Clause need not
identify a violation of a separate constitutional right. See LULAC, 2018
WL 3848404, at *6.


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which is to force, intimidate, or threaten; (3) an individual

legally entitled to vote who is engaging in lawful activity

related to voting in federal elections.31

      a.      Conspiracy

      As to the first requirement, the elements of a conspiracy

under federal law are: “(1) an agreement between two or more

persons to commit an unlawful act; (2) knowingly engaging in

the conspiracy intending to commit those offenses that were

the objects of the conspiracy; and (3) commission of an ‘overt

act’ by one or more members of the conspiracy in furtherance

of the conspiracy.” United States v. Reyes, 302 F.3d 48, 52

(2d Cir. 2002). A conspiracy “need not be shown by proof of

an explicit agreement.” Cine Sk8, Inc. v. Town of Henrietta,

507 F.3d 778, 792 (2d Cir. 2007) (internal quotation marks

and citation omitted). However, “a plaintiff must demonstrate

at least that parties have a tacit understanding to carry out

the prohibited conduct.” Id. (internal quotation marks and

citation omitted).

      b.      Intimidation and Threats

      The Court has identified no authority indicating that

the   terms    “intimidation”    and    “threat”   bear   a   different


31 This formulation differs slightly from the elements set forth in

§ 1985(3) cases in the Second Circuit. However, this is because those
cases dealt with the Equal Protection Clause and not the Support or
Advocacy Clause. See, e.g., Cine Sk8, Inc. v. Town of Henrietta, 507 F.3d
778, 792 (2d Cir. 2007) (internal quotation marks and citation omitted).


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meaning in the KKK Act than they do in the VRA. The Court

will therefore interpret these terms consistent with the

discussion above in Section III.D.1.

     c.    No Animus Requirement

     Unlike    plaintiffs         suing     under   the     Equal    Protection

Clause of the KKK Act, plaintiffs suing under the Support or

Advocacy Clause need not demonstrate that defendants acted

with discriminatory, class-based animus. See Kush, 460 U.S.

at 726 (rejecting the argument that the discriminatory animus

requirement, which “arose under the first clause of [Section]

1985(3),” should be extended to the remaining portions of

Section 1985 (emphasis added)).

     d.    Likelihood of Success on Plaintiffs’ KKK Act Claim

     Plaintiffs have demonstrated a substantial likelihood of

success on the merits of their claim under the KKK Act,

§ 1985(3).    For    the    reasons       discussed       below,    all   of   the

elements are likely satisfied here.

     i.    Conspiracy

     There seems little doubt that Plaintiffs can prove a

conspiracy.     Both       Wohl     and     Burkman       have     admitted     to

participating       in   the      creation    and     distribution        of   the

robocall   message,        indicating       that    the    first    element     of

conspiracy -- an agreement between two or more persons -- is

met. The second element -- knowledge -- can be reasonably


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inferred from the fact that the robocalls were placed from a

number   associated   with   Burkman   and   are   sponsored     by   an

organization founded by Wohl and Burkman, as well as from the

fact that Wohl and Burkman have openly acknowledged engaging

in efforts “to hurt Democrats.” (Plaintiffs’ Memorandum, at

17.) And finally, the placing of these calls demonstrates

that the third element -- an overt act in furtherance of the

conspiracy -- is met here.

     ii.   Threat or Intimidation

     Plaintiffs have demonstrated that they are likely to

establish a threat or intimidation under the KKK Act for the

same reasons discussed above with regard to threats and

intimidation under the VRA. See supra Section III.D.1.

     iii. Target of the Conspiracy

     Finally, the last element of a Support or Advocacy Clause

claim is easily met here as well. There is little doubt that

the robocalls targeted lawful voters who were planning to

vote, either by mail or in person. As the affidavits of the

Individual Plaintiffs establish, the robocall recipients are

legally entitled to vote. (Winter Decl. ¶ 3; Steinberg Decl.

¶ 3; Hart Decl. ¶ 2; Wolff Decl. ¶ 3; Slaven Decl. ¶ 3;

Kennedy Decl. ¶ 3; Daniel Decl. ¶ 3; Sferes Decl. ¶ 3; see

also Ramsey Decl. ¶¶ 7, 9.) And mail-in voting is clearly a

lawful, voting-related activity. See Paynes v. Lee, 377 F.2d


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61, 64 (5th Cir. 1967) (“The right to be free from threatened

harm and the right to be protected from violence for an

attempted exercise of a voting right are no less protected

than the right to cast a ballot on the day of election.”).

Thus, Plaintiffs have established a substantial likelihood

that they will prevail on the merits of their Support or

Advocacy Clause claim under § 1985(3).

E.    PUBLIC INTEREST

      The Court has little trouble concluding that the public

interest favors granting Plaintiffs’ request for a temporary

restraining order. Contrary to Defendants’ contentions, their

conduct is far from innocuous, and Plaintiffs’ claims are far

from “histrionic.” (Opposition at 22.) No right is more sacred

in a democracy than the right to vote freely. But if left

unchecked, Defendants’ conduct imperils this right, and with

it, the very heart and constitutional foundation of this

nation.

      By disseminating a robocall message laden with falsity

and ill purpose and dire effects, Defendants have not, as

they claim, acted within the bounds of the First Amendment

and   engaged     in      mere   political   speech.     Defendants

intentionally reached into the homes of voters and raised the

specter   of    arrest,    financial   distress,   infirmity,    and

compulsory medical procedures. Not only did Defendants incite


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fears of these grim consequences, but they baselessly tied

the   prospects    to    mail-in       voting.   The   result    cannot   be

described   as    anything       but    deliberate     interference    with

voters’ rights to cast their ballots in any legal manner they

choose. And the intimidation of individual voters inflicts

harm upon the broader public’s interest in selecting elected

officials through a free and fair process.

      Finally, the Court rejects Defendants’ argument that the

public interest is not served by injunctive relief because

“[t]he underlying statutes cited . . . by the Plaintiffs . . .

were intended to curtail violence, menacing and intimidation

of the kind employed by a violent secret society . . . in the

[R]econstruction era South.” (Opposition at 22.) The public’s

interests require that this Court take firm and swift action

against all who intimidate voters -- hooded or not.

E.    FORM OF RELIEF

      The VRA allows “for preventive relief, including an

application      for    a   temporary       or   permanent      injunction,

restraining order, or other order.” 52 U.S.C. § 10308(d). The

Court’s authority to issue any “other order” includes the

authority to order “whatever additional action is necessary

to return individuals to their status quo ante” -- that is,

the   status     quo    before    Defendants      acted   unlawfully      --




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including affirmative remedial action. See McLeod, 385 F.2d

at 748-50.32

      Here,    Plaintiffs    have       made    a   strong    showing     that

Defendants’ conduct has induced fear about mail-in voting and

deterred robocall recipients from exercising their right to

do so. To that extent, Defendants have already inflicted

significant harm not only on Plaintiffs, but on the nation’s

democratic     institutions.      “Of    course,    no   court    order    can

completely eradicate the effect of [Defendants’] actions.”

Id. at 749. But the Court “can and must . . . do all within

its power to eradicate the effect of the unlawful [conduct]

in   this     case.”   Id.   at     750.       Accordingly,      restraining

Defendants from engaging in further unlawful conduct would

not suffice to undo the harm they have brought about in this

case. In order to mitigate the damage Defendants have caused

and thus endeavor to return the robocall recipients to the

position they were in before Defendants placed those calls,

the Court considers it necessary for Defendants to issue a

message to all recipients of the robocalls informing them


32 Even absent this statutory authorization, the Court has the power to

order an affirmative act or mandate a specified course of conduct so long
as Plaintiffs have demonstrated a clear or substantial likelihood of
success on the merits. See Louis Vuitton Malletier v. Dooney & Bourke,
Inc., 454 F.3d 108, 114 (2d Cir. 2006) (internal quotation marks and
citation omitted); Union Cosmetic Castle, Inc. v. Amorepacific Cosmetics
USA, Inc., 454 F. Supp. 2d 64, 68 (E.D.N.Y. 2006) (internal quotation
marks and citation omitted). As discussed previously, Plaintiffs have
demonstrated a substantial likelihood of succeeding on their VRA and KKK
Act claims.


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about this Court’s finding that Defendants’ original message

contained    false   statements     that   have     had    the    effect   of

intimidating voters, and thus interfering with the upcoming

presidential election, in violation of federal voting-rights

laws.33

                                IV.     ORDER

      Accordingly, for the reasons stated above, it is hereby

      ORDERED    that    Plaintiffs’       motion    for     a    temporary

restraining order (Dkt. No. 12) is GRANTED; and it is further

      ORDERED    that,   sufficient      reason     having       been   shown

therefore, pursuant to Rule 65 of the Federal Rules of Civil

Procedure, Defendants are temporarily restrained, pending a

hearing on Plaintiffs’ motion for a preliminary injunction,

from engaging in, or causing anyone else to engage in,

robocalls or similar forms of communications sent directly to

multiple recipients (such as text messaging), without prior




33The Court is aware that defendants Wohl and Burkman face the following
bail condition in their pending Michigan case: “Neither defendant is to
initiate, or cause anyone else to initiate, any robocalls or other
communications directed at multiple recipients until November 4,
2020.” See CTRM 134 36th District Court, 36thDC134, YouTube (Oct. 8,
2020), https://www.youtube.com/watch?v=X8KUAWLGbZA. The Court is not
persuaded that this condition was intended to prohibit the type of
remedial messaging envisioned by the present Order. To the extent there
is a conflict between the bail condition and this Court's Order, however,
it is the Court’s understanding that when “[f]aced with conflicting orders
-- one issued by a federal court to implement the Constitution, and the
other issued by a state court as a matter of state practice,” the federal
court order takes precedence under “the priority prescribed by the
Constitution” through the Supremacy Clause. See Madej v. Briley, 370 F.3d
665, 667 (7th Cir. 2004).


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written express consent of each recipient or approval of this

Court, through at least November 3, 2020; and it is further

     ORDERED that Defendants shall send, or authorize an

appropriate third party to send, a robocall message (the

“Curative Message”) informing the recipients of the original

robocall message discussed in this Decision and Order (the

“Prior Robocall”) of this Court’s findings regarding that

call. The Curative Message shall be issued to all recipients

of the Prior Robocall and shall state only the following: “At

the direction of a United States       district court, this call

is intended to inform you that a federal court has found that

the message you previously received regarding mail-in voting

from Project 1599, a political organization founded by Jack

Burkman and Jacob Wohl,    contained false information that has

had the effect of intimidating voters, and thus interfering

with the upcoming presidential election, in violation of

federal voting-rights laws.”; and it is further

     ORDERED that by Thursday, October 29, 2020 at 5:00 p.m.,

Defendants shall produce records sufficient to demonstrate

compliance with the preceding paragraph of this Order. In the

event Defendants fail to do so, the Court will hold a hearing

on Friday, October 30, 2020 at 10:00 a.m. to review the status

of Defendants’ compliance with this Order and give Defendants

an opportunity to show cause why they should not be held in


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contempt of court for any noncompliance the Court finds. At

that time the Court will also authorize Plaintiffs to take

appropriate steps to distribute the Curative Message to the

recipients of the original robocall, with Defendants to pay

Plaintiffs’ reasonable costs and fees as assessed by the

Court; and it is further

     ORDERED that Defendants shall keep records of each such

communication discussed in the previous paragraphs of this

Order (including a copy of the communication, the name and

contact information of each person contacted, the content of

the message, any consents obtained, and the date and time of

the communication) until the conclusion of this litigation or

the expiration of this Order, whichever is earlier.


SO ORDERED.

Dated:    New York, New York
          28 October 2020

                                   ___________________________
                                          Victor Marrero




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